 Case 3:24-cr-00090-RDM    Document 160   Filed 05/14/25   Page 1 of 32




               UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

TIMTED STATES OF AMERICA              No. 3:24-CR-90

                                      (Judge Mariani)

RYAN MEDAR,                           (electronically {iled)
                       Defendant

                          PLEAAGREEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania

A Violation(s). Penaltiee. and Diemiseal of Other Counts
    1. Guiltv plea. The defendant a grees to plead guilty to Count 1 of
       the Indictment, which charges the defendant with a violation of

       Title 21, United States Code, $ 846, Conspiracy to Distribute

       and Possess with Intent to Distribute Controlled Substances,

       namely in excess of 50 grams of a mixture and substance

       containing a detectable amount of methamphetamine. The

        maximum penalty for Count 1 is imprisonment for a period of
Case 3:24-cr-00090-RDM    Document 160     Filed 05/14/25   Page 2 of 32




      40 years, a fine of $5,000,000, a maximum term of supervised

      release of life, which shall be served at the conclusion of, and in

      addition to, any term of imprisonment, as well as the costs of

      prosecution, imprisonment, probation, or supervised release

      ordered, denial ofcertain federal benefits, and an assessment in

      the amount of $100. At the time the guilty piea is entered, the

      defendant shall admit to the Court that the defendant is, in fact,

      guilty of the offenses charged in Count 1. After sentencing, the

      United States will move for dismissal of any remaining counts

      ofthe Indictment. The defendant aglees, however, that the

      United States may, at its sole election, reinstate any dismissed

      charges, or seek additional charges, in the event that any guilty

      plea entered or sentence imposed pursuant to this Agreement is

      subsequently vacated, set aside, or invalidated by any court.

      The defendant further agrees to waive any defenses to

      reinstatement of any charges, or to the filing of additional

      charges, based upon laches, the assertion of speedy trial rights,

      any applicable statute of limitations, or any other ground. The
                                   2
Case 3:24-cr-00090-RDM     Document 160   Filed 05/14/25   Page 3 of 32




     calculation of time under the Speedy Trial Act for when trial

      must commence is tolled as of the date of the defendant's

      signing of this Agreement, until either (d the defendant pleads

      guilty; or (b) a new date is set by the Court for commencement

     of trial.

  2. Mandatorv Minimum Senten ce. Count 1 carries a mandatory
      minimum period of imprisonment of 5 years

  3. Term ofSu ervised Release. The defendant understands that
     the Court must impose at least a four-year term of supervised

     release in addition to any term of imprisonment, Iine or

      assessment involving this violation of the Controlled Substances

     Act. The defendant also understands that the Court may impose

      a term of supervised release following any sentence of

      imprisonment exceeding one year, or when required by statute.

      The Court may require a term of supervised release in any other

      case.   In addition, the defendant understands that as a

      condition of any term of supervised release or probation, the

      Court must order that the defendant cooperate in the collection
                                   3
 Case 3:24-cr-00090-RDM    Document 160     Filed 05/14/25   Page 4 of 32




       of a DNA sample if the collection of a sample is so authorized by

       law.

   4. No Further Prosecution. Except Tax Charges . The United
       States Attorney's Office for the Middle District of Pennsylvania

       agrees that it will not bring any other criminal charges against

       the defendant directly arising out of the defendant's

       involvement in the offenses described above. However, nothing

       in this Agreement will limit prosecution for criminal tax

       charges, if any, arising out of those offenses.

B. Fines andAseessmente
   5. Fine. The defendant understands that the Court may impose a
       fine pursuant to the Sentencing Reform Act of 1984. The willful

       failure to pay any fine imposed by the Court, in full, may be

       considered a breach ofthis PIea Agreement. Further, the

       defendant acknowledges that willful failure to pay the fine may

       subject the defendant to additional criminal violations and civil

       penalties pursuant to Title 18, United States Code, $ 3611, et

       seq.

                                    4
Case 3:24-cr-00090-RDM    Document 160     Filed 05/14/25   Page 5 of 32




  6. Altern ive Fine. The defendant und erstands that under the
      alternative fine section ofTitle 18, United States Code, $ 8521,

      the maximum fine quoted above may be increased if the Court

      finds that any person derived pecuniary gain or suffered

      pecuniary loss from the offense and that the maximum fine to

      be imposed, if the Court elects to proceed in this fashion, could

      be twice the amount of the gross gain or twice the amount of the

      gross loss resulting from the offense.

  7. Inmate Fin ancial Resp onsibilitv Proer am. If the Court orders a
      fine or restitution as part ofthe defendant's sentence, and the

      sentence includes a term of imprisonment, the defendant agrees

      to voluntarily enter the United States Bureau ofPrisons-

      administered program known as the Inmate Financial

     Responsibility Program, through which the Bureau of Prisons

     will collect up to 50% ofthe defendant's prison salary, and up to

      50% ofthe balance ofthe defendant's inmate account, and apply

     that amount on the defendant's behalf to the payment of the

     outstanding fine and restitution orders.
                                   5
Case 3:24-cr-00090-RDM    Document 160    Filed 05/14/25   Page 6 of 32




  8. Special Assessment. The defendant understands that the Court
      will impose a special assessment of S100, pursuant to the

      provisions of Title 18, United States Code, $ 3013. No later

      than the date of sentencing, the defendant or defendant's

      counsel shall mail a check in payment of the special assessment

      directly to the Clerk, United States District Court, Middle

      District ofPennsylvania. Ifthe defendant intentionally fails to

      make this payment, that failure may be treated as a breach of

      this Plea Agreement and may result in further prosecution, the

      filing of additional criminal charges, or a contempt citation.

  9. Collection of Financial Oblisations. In order to facilitate the
      collection of financial obligations imposed in connection with

      this case, the defendant consents and agrees:

      a   to fully disciose all assets in which the defendant has an

          interest or over which the defendant has control, directly or

          indirectly, including those held by a spouse, nominee, or

          other third partyi


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Case 3:24-cr-00090-RDM    Document 160    Filed 05/14/25   Page 7 of 32
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      b. to submit to interviews by the Government regarding the
          defendant's financial statusi

      c. to submit a complete, accurate, and truthful financial
          statement, on the form provided by the Government, to the

          United States Attorney's Office no later than 14 days

          following entry of the guilty pleai

      d. whether represented by counsel or not, to consent to contact
          by and communication with the Government, and to waive

          any prohibition against communication with a represented

          party by the Government regarding the defendant's

          financial statusi

      e. to authorize the Government to obtain the defendant's
          credit reports in order to evaluate the defendant's ability to

          satisfy any financial obligations imposed by the Courti and

      f. to submit any financial information requested by the
          Probation Office as directed, and to the sharing of financial

          information between the Government and the Probation

          Office
                                   7
 Case 3:24-cr-00090-RDM      Document 160    Filed 05/14/25   Page 8 of 32




C. Sentencine Guidelines Calculation
   10. De termination of Sentencine G uidelines. The defendant and

         counsel for both parties agree that the United States Sentencing

         Commission Guidelines, which took effect on November 1, 1982,

         and its amendments (the "Sentencing Guidelines"), will apply to

         the offense or offenses to which the defendant is pleading guilty.

         The defendant understands that the Sentencing Guidelines are

         advisory and not binding on the Court. The defendant further

         agrees that any legal and factual issues relating to the

         application ofthe Sentencing Guidelines to the defendant's

         conduct, including facts to support any specific offense

         characteristic or other enhancement or adjustment and the

         appropriate sentence within the statutory maximums provided

         for by law, will be determined by the Court after briefing, a pre-

         sentence hearing, or a sentencing hearing.

   1   1. Accep tance of Responsibilitv- Tw o/Three Levels. Ifthe

         defendant can adequately demonstrate recognition and

         affirmative acceptance of responsibility to the Government as
                                     8
Case 3:24-cr-00090-RDM    Document 160     Filed 05/14/25   Page 9 of 32




      required by the Sentencing Guidelines, the Government will

      recommend that the defendant receive a two- or three-level

      reduction in the defendant's offense level for acceptance of

      responsibility. The third level, if applicable, shall be within the

      discretion of the Government under U.S.S.G. $ 3E1.1. The

      failure ofthe Court to find that the defendant is entitled to a

      reduction shall not be a basis to void this Agreement.

   12. Specific Sentencine Guidelines Recommendations. With respect

      to the application ofthe Sentencing Guidelines to the

      defendant's conduct, the parties agree to recommend as foilows:

      Each party reserves the right to make whatever arguments it

      deems appropriate with regard to application of the United

      States Sentencing Commission Guidelines to the defendant's

      conduct. The defendant understands that any

      recommendations are not binding upon either the Court or the

      United States Probation Office, which may make different

      findings as to the application of the Sentencing Guidelines to

      the defendant's conduct. The defendant further understands
                                   I
Case 3:24-cr-00090-RDM   Document 160     Filed 05/14/25   Page 10 of 32




      that the United States will provide the Court and the United

      States Probation Office all information in its possession that it

      deems relevant to the application of the Sentencing Guidelines

      to the defendant's conduct.

D. Sentencing Becommendation
   13. Anoron riate Sentence Reco mm endation. At the time of

      sentencing, the United States may make a recommendation

      that it considers appropriate based upon the nature and

      circumstances of the case and the defendant's participation in

      the offense, and specifically reserves the right to recommend a

      sentence up to and including the maximum sentence of

      imprisonment and Iine allowable, together with the cost of

      prosecution.

   14. Special Conditions ofProbat ion/Supervised Release. If

      probation or a term of supervised release is ordered, the United

      States may recommend that the Court impose one or more

      special conditions, including but not limited to the following:



                                    10
Case 3:24-cr-00090-RDM   Document 160     Filed 05/14/25   Page 11 of 32




      a   The defendant be prohibited from possessing a Iirearm or

          other dangerous weapon.

      b. The defendant make restitution, if applicable, the payment
          of which shall be in accordance with a schedule to be

          determined bv the Court.

      C   The defendant pay any fine imposed in accordance with a

          schedule to be determined by the Court.

       d. The defendant be prohibited from incurring new credit
          charges or opening additional lines of credit without

          approval of the Probation Office unless the defendant is in

          compliance with the payment schedule.

       e. The defendant be dLected to provide the Probation Offrce
          and the United States Attorney access to any requested

          financial information.

       f. The defendant be confined in a community treatment
          center, halfway house, or similar facility.

       g. The defendant be placed under home confinement.
       h. The defendant be ordered to perform community service.
                                   11
Case 3:24-cr-00090-RDM    Document 160     Filed 05/14/25   Page 12 of 32




       1   The defendant be restricted from working in certain types of

           occupations or with certain individuals if the Government

           deems such restrictions to be appropriate.

       J   The defendant be directed to attend substance abuse

           counseling, which may include testing to determine whether

           the defendant is using drugs or alcohol.

       k   The defendant be directed to attend psychiatric or

           psychological counseling and treatment in a program

           approved by the Probation Offlicer.

       I   The defendant be denied certain federal benefits including

           contracts, grants, loans, fellowships, and licenses.

       m   The defendant be directed to pay any state or federal taxes

           and file any and all state and federal tax returns as

           required by law.

E. Forfeiture ofAssetg
   15. Forfeiture. The present Indictment seeks forfeiture ofthe

       defendant's interests in certain assets. In the event the United

       States seeks to forfeit those assets through a civil proceeding,
                                   72
Case 3:24-cr-00090-RDM   Document 160     Filed 05/14/25   Page 13 of 32




      the defendant understands that dismissal of the criminal

      forfeiture allegation in no way limits the United States from

      proceeding civilly against any assets owned or held by the

      defendant or any other party. Defendant agrees to settle any

      civil and criminal forfeiture matters arising out of the offense of

      conviction and its relevant conduct. The defendant agrees that

      the defendant's property constitutes proceeds of, is derived from

      proceeds traceable to, or was used in any manner or part to

      commit or facilitate the commission of the offense of conviction

      and its relevant conduct. Defendant further agrees to the

      following:

      a   Forfeiture of all properties, real and personal listed in the

          Forfeiture Allegation of the Indictment/Informationi

      b. Immediate entry of the preliminary order of forfeiture or the
          filing of a civil complaint by the United States, pursuant to

          Title 18, United States Code, $ 981;




                                  13
Case 3:24-cr-00090-RDM    Document 160      Filed 05/14/25   Page 14 of 32




      c    Waiver of the right to personal service of all process and

           naming of Gino Bartolai, Esq., 238 William Street, Pittston,

           PA 18640, as agent for service of all processi

      d. Waiver ofthe right to appear and contest any portion of the
           forfeiture proceedings, including but not limited to, any

           motion or proceeding for substitute assets;

      e    The filing and entry of a consent decree of forfeiturei

      f. Disclosure, no later than upon signing this Agreement, of all
           persons and entities holding an equitable or legal interest in

           the property, real or personal, subject to forfeiture pursuant

           to this Agreementi

       g. Concurrence in any motion necessary to be filed and signing
           any documents necessary to effectuate forfeiture;

       h. Payment ofcosts associated with the seizure, storage, and
           maintenance of any asset being returned to the defendant

           as a result of this Agreementi

       t   In the event any assets are being returned to the defendant,

           such return does not amount to having "substantially
                                    t4
Case 3:24-cr-00090-RDM    Document 160     Filed 05/14/25   Page 15 of 32




           prevailed" in the pursuit of any claim, and to make no claim

           against the United States or any of its agencies or

           employees, including claims for attorney's fees and costs of

           litigationi

      j.   Waiver of any double jeopardy challenges the defendant

           may have to any administrative or civil forfeiture actions,

           pending or completed, arising out of the course of conduct

           forming the basis for the forfeituresi and

      k. Waiver of all constitutional, Iegal, and equitable claims
           arising out of and defenses to the forfeiture of this property

           in any proceeding, including any claim of innocent

           ownership and any claim or defense under the Eighth

           Amendment, including any claim of excessive fine.

   16. Disclosure of Assets. This Agreement is entered by the United

      States on the basis of the express representation that the

      defendant is making full and complete disclosure of all assets

      over which the defendant exercises control. The defendant

      agrees to submit to a polygraph examination by an examiner
                                   15
Case 3:24-cr-00090-RDM    Document 160     Filed 05/14/25   Page 16 of 32




      selected by the Government to verify the defendant's complete

      and candid compliance with this provision of the Agreement.

      The defendant also understands that a failure to make a full

      disclosure or lack of candor revealed by a polygraph

      examination would constitute a breach of this Agreement,

      subjecting the defendant to the sanctions set forth in this

      Agreement. Conditioned upon such full disclosure, the United

      States agrees not to seek the seizure/forfeiture of any of the

      defendant's assets other than those set forth in this Agreement.

   17. No Further Forfeiture. As the result of the forfeitures set forth

      above, the United States agrees not to seek forfeiture of any

       other asset known to the United States by defendant's

       disclosure to belong to the defendant or the defendant's family.

       This Agreement does not prevent the IRS from the collection of

       taxes or the seizure of assets to satisfy those taxes.

   18. Forfeiture of Interests/Passaqe of Clear TitlelDestruction Order.

       By this Agreement, the defendant agrees to forfeit all interests

       in the assets set forth above and to take whatever steps are
                                    16
Case 3:24-cr-00090-RDM    Document 160    Filed 05/14/25   Page 17 of 32




      necessary to pass clear title of those assets to the United States.

      These steps include but are not limited to surrender of title;

      signing of a consent decreei stipulating to facts regarding the

      transfer and basis for the forfeituresi and concurrence in any

      motion and signing any document necessary to effectuate such

      transfers.

   19. Destruction Order/IVaivers. The defendant further a gTees,

      should the United States deem it appropriate, to the destruction

      of the items seized during the course of the investigation. The

      defendant agrees that the items may be destroyed by the

      investigative agency with or without a court order authorizing

      the destruction of the items seized. If the United States

      determines that a destruction order should be obtained, the

      defendant and defendant's counsel hereby concur in a motion for

      such an order. The defendant further agrees to waive all

      interest in the assets in any administrative or judicial forfeiture

       proceeding, whether criminal or civil, state, or federal. The

       defendant consents and waives all rights to compliance by the
                                   t7
Case 3:24-cr-00090-RDM   Document 160     Filed 05/14/25   Page 18 of 32




      United States with any applicable deadlines under 18 U.S.C. $

      983(d. Any related administrative claim filed by the defendant

      is hereby withdrawn. The defendant agrees to consent to the

      entry of orders of forfeiture for such property and waives the

      requirements of Federal Rules of Criminal Procedure 32.2 and

      43(a) regarding notice ofthe forfeiture in the charging

      instrument, announcement ofthe forfeiture at sentencing, and

      incorporation of forfeiture in the judgment.

  20. Forfeiture of Firearms Possessed in Conne ction with the

      Offense. The United States and the defendant hereby agree

      that the black Taurus 1911 .45 caliber pistol, Serial Number

      ADH633998, the brown Glock 19X 9mm pistol, Serial Number

      BRRA,692, the black Colt Government Model .22 handgun,

      Serial Number LKO2O67 6, which are firearms as defined in 18

      U.S.C., $ 921, seized during the investigation and currently in

      the custody and control of the Bureau of Alcohol, Tobacco,

      Firearms, and Explosives ("ATF"'), were properly seized and

      were possessed, involved in or used in a violation of Title 21,
                                  18
Case 3:24-cr-00090-RDM     Document 160    Filed 05/14/25   Page 19 of 32




       U.S.C. $846, to which the defendant will plead guilty. The

       defendant agrees that the firearms are subject to forfeiture to

       the United States pursuant to 18 U.S.C. $ 924. The defendant

       hereby relinquishes to the United States any claim, title and

       interest the defendant has in said firearms. The defendant

       agrees to withdraw any claim made in any civil, administrative,

       or judicial forfeiture brought against said firearms, and further

       agrees not to oppose any civil, administrative, or judicial

       forfeiture of said firearms.

F. Information Pmvided to Court and Probation Office
   21. Backeround Information for Probation Office. The defendant

       understands that the United States will provide to the United

       States Probation Offrce all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.

   22. Obiections to Pre-Sentence Reoort . The defendant understands

       that pursuant to the United States District Court for the Middle
                                      19
Case 3:24-cr-00090-RDM   Document 160     Filed 05/14/25   Page 20 of 32




      District of Pennsylvania's "Policy for Guideline Sentencing,"

      both the United States and defendant must communicate to the

      Probation Officer within 14 days after disclosure ofthe pre-

      sentence report any objections they may have as to material

      information, sentencing classifications, applicable Sentencing

      Guidelines ranges, and policy statements contained in or

      omitted from the report. The defendant agrees to meet with the

      United States at least five days prior to sentencing in a good

      faith attempt to resolve any substantive differences. Ifany

      issues remain unresolved, they shall be communicated to the

      Probation Officer for inclusion in an addendum to the pre-

      sentence report. The defendant agrees that unresolved

      substantive objections will be decided by the Court after

      briefrng, a pre-sentence hearing, or at the sentencing hearing,

      where the standard or proof will be a preponderance of the

      evidence, and the Federal Rules of Evidence, other than with

      respect to privileges, shall not apply under Fed. R. Evid.

      1101(0(3), and the Court may consider any reliable evidence,
                                  20
Case 3:24-cr-00090-RDM    Document 160    Filed 05/14/25   Page 21 of 32




      including hearsay. Objections by the defendant to the pre-

      sentence report or the Court's rulings, will not be grounds for

      withdrawal of a plea of guilty.

  23. Relevant Sentencine Information. At sentencing, the United

      States will be permitted to bring to the Court's attention, and

      the Court will be permitted to consider, all relevant information

      about the defendant's background, character and conduct,

      including the conduct that is the subject of the charges that the

      United States has agreed to dismiss, and the nature and extent

      of the defendant's cooperation, if any. The United States will be

      entitled to bring to the Court's attention and the Court will be

      entitled to consider any failure by the defendant to fulfill any

      obligation under this Agreement.

  24. Non-Limitation on Government's Response. Nothing in this

      Agreement shall restrict or limit the nature or content of the

      United States' motions or responses to any motions filed on

      behalf of the defendant. Nor does this Agreement in any way

      restrict the Government in responding to any request by the
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Case 3:24-cr-00090-RDM    Document 160    Filed 05/14/25   Page 22 of 32




      Court for briefing, argument or presentation of evidence

      regarding the application of Sentencing Guidelines to the

      defendant's conduct, including but not limited to, requests for

      information concerning possible sentencing departures.

G. Court Not Bound bv Plea Asreement
   25. Court Not Bound bv Terms. Th e defendant understands that

      the Court is not a party to and is not bound by this Agreement,

      or by any recommendations made by the parties. Thus, the

      Court is free to impose upon the defendant any sentence up to

      and including the maximum sentence of forty years'

      imprisonment, a fine of 95,000,000, a maximum term of

      supervised release of up life, which shall be served at the

      conclusion of and in addition to any term of imprisonment, the

      costs of prosecution, denial of certain federal benefits, and

      assessments totaling $100.

   26. No Withdrawal of Plea Based on Sentence or Recommendations.

      If the Court imposes a sentence with which the defendant is

      dissatisfied, the defendant will not be permitted to withdraw
                                   22
Case 3:24-cr-00090-RDM     Document 160     Filed 05/14/25   Page 23 of 32

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        any guilty plea for that reason alone, nor will the defendant be

       permitted to withdraw any guilty plea should the Court decline

       to follow any recommendations by any of the parties to this

       Agreement.

H                            t
    27. Br ach of      ement. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

       Agreement, then the United States shall, in its discretion, have

       the option of petitioning the Court to be relieved of its

       obligations under this Agreement. Whether the defendant has

       completely fulfilled all of the obligations under this Agreement

       shall be determined by the Court in an appropriate proceeding,

       during which any disclosures and documents provided by the

       defendant shall be admissible, and during which the United

       States shall be required to establish any breach by a

       preponderance of the evidence. In order to establish any breach

      by the defendant, the United States is entitled to rely on



                                   23
Case 3:24-cr-00090-RDM   Document 160     Filed 05/14/25   Page 24 of 32




      statements and evidence given by the defendant during the

      cooperation phase of this Agreement, ifany.

   28. Remedies for Breach. The defendant and the United States

      agree that in the event the Court concludes that the defendant

      has breached the Agreement:

      a. The defendant will not be permitted to withdraw any guilty
          plea tendered under this Agreement and agrees not to

          petition for withdrawal of any guilty plea;

      b. The United States will be free to make any
          recommendations to the Court regarding sentencing in this

          CASC,


      c. Any evidence or statements made by the defendant during
          the cooperation phase of this Agreement, if any, will be

          admissible at any trials or sentencingsi

      d. The United States will be free to bring any other charges it
         has against the defendant, including any charges originally

         brought against the defendant or which may have been

         under investigation at the time ofthe plea. The defendant
                                 24
Case 3:24-cr-00090-RDM   Document 160    Filed 05/14/25   Page 25 of 32




          waives and hereby agrees not to raise any defense to the

          reinstatement of these charges based upon collateral

          estoppel, Double Jeopardy, statute of Iimitations, assertion

          of Speedy Trial rights, or other similar grounds.

   29. Violation of Law While Plea or Sentence Pendine. The

      defendant understands that it is a condition of this Agreement

      that the defendant refrain from any further violations of state,

      local, or federal law while awaiting plea and sentencing. The

      defendant acknowledges and agrees that if the Government

      receives information that the defendant has committed new

      crimes while awaiting plea or sentencing in this case, the

      Government may petition the Court and, if the Court frnds by a

      preponderance ofthe evidence that the defendant has

      committed any other criminal offense while awaiting plea or

      sentencing, the Government shall be free at its sole election to

      either: (a) withdraw from this Agreementi or (b) make any

      sentencing recommendations to the Court that it deems

      appropriate. The defendant further understands and agrees
                                  25
 Case 3:24-cr-00090-RDM            Document 160    Filed 05/14/25   Page 26 of 32




         that, if the Court finds that the defendant has committed any

         other offense while awaiting plea or sentencing, the defendant

         will not be permitted to withdraw any guilty pleas tendered

         pursuant to this Agreement, and the government will be

         permitted to bring any additional charges that it may have

         against the defendant.

I. Depodation
     30. De       rtation/Removal from the United S tates, The defendant

        understands that, if defendant is not a United States citizen,

        deportation/removal from the United States is a consequence of

        this plea. The defendant further agrees that this matter has

        been discussed with counsel who has explained the immigration

        consequences of this plea. The defendant still desires to enter

        into this plea after having been so advised.
                                                                                    cl
                                                                                         );
J.
                                                                               4
     31. A    e       alver - Direct. The             t is aware that Title 28, trt
        United Stat CS         e       91 affords a defendant the right to
                                                                                      efi
        appeal a         ment o f (l         on and sentence; and that Title 18,
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Case 3:24-cr-00090-RDM         Document 160     Filed 05/14/25    Page 27 of 32




                                                                                              x-,
                                                                                    ,o v
      United St         e s Code, $ 37a2(d affords a defendant the rig
                                                                                         ,)
                                                                                o    \
                                                                                    Lr
      appeal the se        ence imposed. Acknowledging all o f        is, the                   tt\
      defendant know           ly waives the right to app        the conviction          $,)
      and sentence. This           iver includes an    nd all possible

      grounds for appeal, wh          er cons   utional or non-

      constitutional, including, b          ot Iimited to, the manner in

      which that sentence w          deter ined in light of United States v.

      Booker,543 U.S            0 (2005). The    fendant further

      acknowled           that this appeal waiver     binding only upon the

      defen         and that the United States ret        s its right to appeal

      IN      s case.

  32. Appea] Waiver Breach. The defendant acknowledges that

      pursuing a direct appeal or any collateral attack waived in the

      preceding paragraph(s) may constitute a breach of this

      Agreement. The Government agrees that the mere filing of a

      notice ofappeal is not a breach ofthe Agreement. The

      Government may declare a breach only after the defendant or

      the defendant's counsel thereafter states, either orally or in
                                       27
Case 3:24-cr-00090-RDM     Document 160    Filed 05/14/25   Page 28 of 32




      writing, a determination to proceed with an appeal or collateral

      attack raising an issue the Government deems barred by the

      waiver. The parties acknowledge that the pursuit ofan appeal

      or any collateral attack constitutes a breach only if a court

      determines that the appeal or collateral attack does not present

      an issue that a judge may reasonably conclude is permitted by

      an exception to the waiver stated in the preceding paragraph(s)

      or constitutes a "miscarriage ofjustice" as that term is defined

      in applicable Iaw.

K Other Provisiong
   33. Aeree me nt Not Bindins on Other Asencies Nothing in this

      Agreement shall bind any other United States Attorney's Office,

      state prosecutor's office, or federal, state, or local law

      enforcement agency.

   34. No Civil Claims or Suits. The defendant agrees not to pursue or

      initiate any civil claims or suits against the United States of

      America, its agencies or employees, whether or not presently

      known to the defendant, arising out ofthe investigation,
                                   28
Case 3:24-cr-00090-RDM   Document 160     Filed 05/14/25   Page 29 of 32




      prosecution or cooperation, if any, covered by this Agteement,

      including but not limited to any claims for attorney's fees and

      other Iitigation expenses arising out of the investigation and

      prosecution ofthis matter. By the defendant's guilty plea in

      this matter the defendant further acknowledges that the

      Government's position in this Iitigation was taken in good faith,

      had a substantial basis in law and fact and was not vexatious.

  35. PI ea     ement S erves Ends of u stice. The United States is

      entering this Agreement with the defendant because this

      disposition ofthe matter fairly and adequately addresses the

      gravity ofthe offenses from which the charge is drawn, as well

      as the defendant's role in such offenses, thereby serving the

      ends of justice.

  36. Mereer of All Prior Neqotiations. This document states the

      complete and only Agreement between the United States

      Attorney for the Middle District of Pennsylvania and the

      defendant in this case, and is binding only on the parties to this

      Agreement and supersedes all prior understandings or plea
                                  29
Case 3:24-cr-00090-RDM   Document 160     Filed 05/14/25   Page 30 of 32




      offers, whether written or oral. This agreement cannot be

      modified other than in writing that is sigrred by all parties or on

      the record in court. No other promises or inducements have

      been or will be made to the defendant in connection with this

      case, nor have any predictions or threats been made in

      connection with this plea. Pursuant to Rule ll ofthe Federal

      Ruies of Criminal Procedure, the defendant certifies that the

      defendant's plea is knowing and voluntary and is not the result

      of force or threats or promises apart from those promises set

      forth in this Agreement.

  37. De    dant is S atisfied with Assistance ofCounsel. The

      Defendant agrees that the defendant has discussed this case

      and this Agreement in detail with the defendant,s attorney, who

      has advised the defendant ofthe defendant's Constitutional and

      other trial and appellate rights, the nature ofthe charges, the

      elements of the offenses the United States would have to prove

      at trial, the evidence the United States would present at such

      trial, possible defenses, the advisory Sentencing Guidelines and
                                 30
Case 3:24-cr-00090-RDM   Document 160     Filed 05/14/25   Page 31 of 32
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      other aspects of sentencing, potential losses of civii rights and

      privileges, and other potential consequences of pleading guilty

      in this case. The defendant agrees that the defendant is

      satisfied with the legal services and advice provided to the

      defendant by the defendant's attorney.

   38. Deadline for Acceptance of Plea Aqreement. The original of this

      Agreement must be signed by the defendant and defense

      counsel and received by the United States Attorney's Office on

      or before 5:00 p.m., September L3,2024, otherwise the offer

      may, in the sole discretion of the Government, be deemed

      withdrawn.

   39. Required Sisnatures. None of the terms of this Agreement shall

      be binding on the Office of the United States Attorney for the

      Middle District of Pennsylvania until signed by the defendant

      and defense counsel and then signed by the United States

      Attorney or his designee.




                                  31
  Case 3:24-cr-00090-RDM          Document 160       Filed 05/14/25     Page 32 of 32
                     i.




                                 ACKNOWLEDGMENTS

      I have read this agreement and carefully reviewed ev ery part of it
 with my attorney. I fully understand it and I voluntarily a    to it.


    9-t .t2i
 Date
                                                 frl
                                             RYANMEDAR
                                             Defendant

       I am the defendant' s counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowl edge, my client's
decisi.on to enter in to this agreement is an          and voluntary one.

 5 n-z(
Date                                           NO       TO      SQ
                                             Counsel for Defendant


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sfrrAr                                 By:
Date                                                       . BUCHANAN
                                                 S   istant United States Attornev

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VERSION DATE Msrch 8.2021




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